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UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA
Tara Hyslop,
Plaintiff(s),
vs. Case Number: l6-cv-00317-JED-JFJ

Travelers Home and Marine lnsurance Company,
The ,

Defendant(s).

SETTLEMENT CONFERENCE REPORT

On 3/20/2018 a Settlement Conference was held in the captioned matter.

/Q/ The litigation was settled; within QZQ days of the
date hereof, the Plaintiff and Defendant shall flle:

-- a Stipulation of Dismissal
OR
-- Agreed Judgment and
Motion to Enter Agreed Judgrnent

m The litigation was not settled.

|:| Settlement negotiations are pending. The parties are to phone the undersigned
by _: __p.m. on , 2018.

DATED: 3/20/2018.

GAM

R. Tom Hillis
Adjunct Settlement Judge

 

Settlement Confemce Repon (SC-O3 10/10)

